    Case 3:21-cv-02636-B Document 7 Filed 11/23/21                  Page 1 of 4 PageID 135



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

OTO ANALYTICS, INC. d/b/a WOMPLY, §
                                  §
     Plaintiff,                   §
                                  §
v.                                §                    CIVIL ACTION NO. 3:21-CV-2636-B
                                  §
CAPITAL PLUS FINANCIAL, LLC,      §
CROSSROADS SYSTEMS, INC., and     §
ERIC DONNELLY,                    §
                                  §
     Defendants.                  §


                                             ORDER

       Before the Court is Defendants Capital Plus Financial, LLC (“Capital Plus”), Crossroads

Systems, Inc. (“Crossroads”), and Eric Donnelly (“Donnelly”)’s notice of removal (Doc. 1) in the

above-captioned action. Having considered the notice and its arguments for why this Court has

jurisdiction over this action, the Court concludes that additional briefing is necessary.

       Plaintiff Oto Analytics d/b/a Womply (“Womply”) originally filed this action in the 95th

Judicial District, Dallas County, Texas. Doc. 1, Notice Removal, ¶ 1. Womply’s Original Petition

states that the “lawsuit arises out of Defendants’ fraudulent misrepresentations and wrongful conduct

causing Womply damages in excess of $76 million.” Doc. 1-4, Pl.’s Original Pet., ¶ 1. Specifically,

Womply claims that it “created a technology platform that allows potential borrowers to easily apply

for [Paycheck Protection Program] PPP loans” and then contracted with “non-party Blueacorn, a

lender service provider and partner of Capital Plus,” to refer potential borrowers to lender “Capital

Plus through . . . Blueacorn.” Id. ¶¶ 2–3. Womply alleges that it only agreed to contract with

Blueacorn for the Capital Plus referrals after “Donnelly, the former CEO of Capital Plus and the


                                                 -1-
    Case 3:21-cv-02636-B Document 7 Filed 11/23/21                   Page 2 of 4 PageID 136



current CEO of Capital Plus’s parent company Crossroads . . . represented that fees Capital Plus

received from the [Small Business Association] SBA . . . would be deposited directly into a joint

account held by Capital Plus and Blueacorn, and that Capital Plus would provide Womply with

visibility into the account.” Id. ¶ 2. “Based on Donnelly’s representations, Womply understood that

Blueacorn and Capital Plus would receive fees from the SBA for all Womply-referred loans

simultaneously, because such fees would be deposited directly into the [j]oint [a]ccount.” Id. ¶ 3.

Womply ultimately “referred 86,521 PPP loans to Capital Plus through Blueacorn” and asserts that

it is “entitled to fees totaling $76,714,482.67, not including interest that has accrued on those late

fees” in compensation for those referrals, “[u]nder its agreements with Blueacorn.” Id. ¶¶ 3, 6.

However, Womply states it has received no fees for the referrals. Id.

       Defendants filed a notice of removal on October 25, 2021. Doc. 1, Notice Removal.

Defendants claim that “removal is proper pursuant to both federal-question jurisdiction and the

federal officer removal statute.” Id. ¶ 4. Their argument for federal-question jurisdiction is that

“[a]lthough [Womply] asserts only state common law claims, the viability of each claim depends on

interpretation of federal law—both statutory and regulatory—governing the [PPP].” Id. Defendants

note that federal-question jurisdiction may lie “‘over state-law claims that implicate significant

federal issues’” so long as the “‘federal issue is: (1) necessarily raised, (2) actually disputed, (3)

substantial, and (4) capable of resolution in a federal court without disrupting the federal-state

balance approved by Congress.’” Id. at ¶ 18 (first quoting Grable & Sons Metal Products, Inc., v. Darue

Eng’g & Mfg, 545 U.S. 308, 312 (2005); then quoting Gunn v. Minton, 568 U.S. 251, 258

(2013)).The four Grable requirements are satisfied in this case, they argue. Id. ¶¶ 22–41.

       Defendants also assert that removal is “proper under the federal officer removal statute,

which provides for removal of any suit brought against . . . ‘any officer (or any person acting under

                                                 -2-
    Case 3:21-cv-02636-B Document 7 Filed 11/23/21                   Page 3 of 4 PageID 137



that officer) of the United States or of any agency thereof . . . for or relating to any act under color

of such office.” Id. ¶ 42 (quoting 28 U.S.C. § 1442(a)(1)). Defendants argue that the “SBA has

‘delegated authority’ to Capital Plus for the purpose of making PPP loans.” Id. ¶ 44 (citing 15 U.S.C.

§ 636(a)(36)(F)(ii)(I)).

        “‘Federal courts are courts of limited jurisdiction.’” Settlement Funding, L.L.C. v. Rapid

Settlements, Ltd., 851 F.3d 530, 537 (5th Cir. 2017) (quoting Howery v. Allstate Ins. Co., 243 F.3d

912, 916 (5th Cir. 2001)). Thus, courts “‘must presume that a suit lies outside this limited

jurisdiction, and the burden of establishing federal jurisdiction rests on the party seeking the federal

forum.’” Id. And “if the record does not contain sufficient evidence to show that subject matter

jurisdiction exists, [then] ‘a federal court does not have jurisdiction over the case.’” Id.

        The Court notes that Plaintiff has not filed a motion to remand this action. Nevertheless, the

Court must sua sponte decide the merits of Defendants’ federal-question jurisdiction arguments and,

if required, remand this action to the state court. See Baris v. Sulpicio Lines, Inc., 932 F.2d 1540,

1544–45 (5th Cir. 1991). To assist the Court in deciding this issue, the Court therefore ORDERS

Womply to file responsive briefing, including legal authority, responding to Defendants’ subject-

matter-jurisdiction arguments. Womply’s briefing should specifically address (1) Defendants’

contention that construction of the PPP regulations and governing statutes will be dispositive of an

essential element of Womply’s state-law claims; (2) whether Womply is an “agent” within the

definition of 13 C.F.R. § 103.1(a); and (3) may address any other issues raised by Defendants’

arguments regarding federal-question jurisdiction and the federal-officer removal statute.

        Plaintiff’s brief shall comply with Local Rules 7.1(d) and 7.2 and shall be filed on or before

January 1, 2022. Defendant shall be entitled to file a reply brief consistent with Local Rules 7.1(f)

and 7.2.

                                                  -3-
Case 3:21-cv-02636-B Document 7 Filed 11/23/21   Page 4 of 4 PageID 138




  SO ORDERED.

  Signed: November 23, 2021.


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                                JANE J. BOYLE
                                UNITED STATES DISTRICT JUDGE




                                 -4-
